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                               AFFIDAVIT
     I, Anthony Clark, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of a complaint and

arrest warrant for Edward Kim (“KIM”) for a violation of

21 U.S.C. § 841(b)(1)(B)(viii): Possession with Intent to

Distribute Methamphetamine.

           This affidavit is also made in support of an

application for a warrant to search the following premises

(collectively, the “SUBJECT PREMISES”):

           a.   The premises of 1039 South Hobart Boulevard Unit

214, Los Angeles, CA 90006 (“SUBJECT PREMISES 1”), one of KIM’s

apartments, as more fully described on Attachment A-1;

           b.   The backroom or any other areas under PALOMA

FOSTER’s control, whether attached or unattached, at the

property located at 113 South Grandview Avenue, Covina, CA 91723

(“SUBJECT PREMISES 2”), which is a residence rented by KIM’s

girlfriend/partner and co-conspirator, PALOMA FOSTER (“FOSTER”),

and where KIM is also known to frequent, as more fully described

on Attachment A-2;

           c.   The premises of 1301 South Beach Boulevard,

Suite E, La Habra, CA 90631 (“SUBJECT PREMISES 3”), a commercial

space that KIM is currently renting, as more fully described on

Attachment A-3; and

           d.   The premises of 1200 South Figueroa Street, Unit

W3124, Los Angeles, CA 90015 (“SUBJECT PREMISES 4”), a luxury
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apartment that KIM has been renting since July 2020, as more

fully described on Attachment A-4.
             The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code §§ 1028A (Aggravated Identity

Theft), 1029 (Fraud in Connection with Access Devices), 371

(Conspiracy), 1956 (Money Laundering), 286 (Conspiracy to

Defraud the Government with Respect to Claims), 287 (False,

Fictitious or Fraudulent Claims), 1341 (Mail Fraud), 1343 (Wire

Fraud), 922(g) (Felon in Possession of a Firearm and

Ammunition), and 924(c) (Carrying a Firearm During and in

Relation to, and Possessing a Firearm in Furtherance of, a Drug

Trafficking Crime); and Title 21, United States Code, §§ 846

(Conspiracy to Distribute Controlled Substances), 841

(Possession with Intent to Distribute Controlled Substances),

and 843(b) (Use of a Communication Facility to Distribute

Controlled Substances) (the “Subject Offenses”), as described

more fully in Attachment B.     Attachments A-1, A-2, A-3, and A-4,

and B are incorporated herein by reference.

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants, and does not purport to set forth all of my knowledge

of or investigation into this matter.       Unless specifically




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indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                      II. BACKGROUND OF AFFIANT
          I am Special Agent with U.S. Department of Labor

Office of Inspector General (“DOL-OIG”), currently assigned to

the Las Vegas Field Office.     I have been employed with DOL-OIG

since January 2019.    I am a graduate of the Criminal

Investigator Training Program and Inspector General Investigator

Training Program held at the Federal Law Enforcement Training

Center in Glynco, Georgia.     As a DOL-OIG special agent, my

duties include investigating fraud, waste, and abuse of various

DOL programs.   I have conducted investigations of criminal

activity involving unemployment insurance (“UI”) fraud, workers’

compensation fraud, and grant fraud.       Prior to my employment

with DOL-OIG, I was employed as an investigator with the Wage

and Hour Division of the U.S. Department of Labor.

                   III. SUMMARY OF PROBABLE CAUSE
          Since late 2019, multiple federal law enforcement

agencies have been investigating Edward Kim (“KIM”) for several

crimes and fraudulent schemes, including drug trafficking, the

filing of false tax returns with stolen identities, and

Employment Development Department (“EDD”) fraud through the

filing of false unemployment insurance claims.

          Over the course of the nearly year-and-a-half

investigation, agents have determined that, among other things,

(1) KIM conspired with others, and carried out, a conspiracy to

ship approximately 449 grams of methamphetamine to co-



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conspirators in Hawaii in a package addressed from “Edward Kim”

to “Clear Point Logistics”; (2) KIM, in conspiracy with another

individual, filed approximately 297 fraudulent tax returns using

stolen identities in order to fraudulently claim Economic Impact

Payments (“EIP”), resulting in a loss of $21,600 dollars; (3)

KIM, potentially along with other co-conspirators, fraudulently

applied for and received approximately $3.0 million in EDD

funds; and mostly recently (4) KIM possessed approximately 22

grams of methamphetamine and other drugs and paraphernalia,

including another package of drugs from “Clear Point Logistics,”

during a traffic stop by the La Habra Police Department

(“LHPD”).
            Throughout this period, law enforcement determined

that KIM used multiple locations under his control to facilitate

and perpetuate these crimes, including his apartment in Los

Angeles (SUBJECT PREMISES 1), the residence of his

girlfriend/partner and co-conspirator, PALOMA FOSTER (“FOSTER”),

in Covina 1 (SUBJECT PREMISES 2), and a commercial space that KIM

rents in La Habra (SUBJECT PREMISES 3), to apply for and receive

fraudulent EDD claims and tax filings, and traffic drugs.          Most

recently, law enforcement has observed KIM and FOSTER at a

luxury apartment in downtown Los Angeles (SUBJECT PREMISES 4),

which KIM began renting in July 2020, and for which he has paid

portion of with EDD funds.




     1 The investigation revealed that KIM and FOSTER are or were
in a romantic relationship and share a child.


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          Finally, on November 15, 2020, the LHPD stopped KIM

for multiple violations of the California Vehicle Code.          This

stop was unrelated to the separate pending federal

investigations into KIM.     During the traffic stop, and after

learning that KIM was on probation with full search terms and

securing his consent, officers searched KIM’s car and

belongings.   Among the items found in KIM’s car were multiple

pieces of EDD mail in names other than KIM’s name, multiple VISA

debit cards in names other than KIM’s, approximately 22.049

grams of methamphetamine, other drugs, a digital scale, an

electroshock weapon (commonly referred to as a taser), and

$26,778 in cash.    Law enforcement also found a mail parcel

containing Alprazolam, which was addressed from “Clear Point

Logistics” at P.O. Box 2305, La Habra, California 90632 and

addressed to an individual in Colorado.

                   IV. STATEMENT OF PROBABLE CAUSE
          Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.   HSI Investigates KIM for Distribution of
          Methamphetamine in November 2019 from SUBJECT
          PREMISES 2

          Since October 2019, HSI has been investigating KIM for

distribution of methamphetamine.      That investigation began when

HSI received information from a LHPD source of information

(“SOI”), who identified an individual named “Eddie Kim,” as a




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trafficker of drugs. 2     Using law enforcement databases, LHPD

determined the person identified as “Eddie Kim” was, in fact,

KIM.       LHPD then provided a photo of KIM to the SOI, who

positively identified KIM as the narcotics trafficker he knows

as “Eddie Kim.”

               Law enforcement then began surveillance on KIM in mid-

November 2019.      On November 15, 2019, while conducting

surveillance on KIM at SUBJECT PREMISES 2 (which law enforcement

later learned was the backroom of a property his partner,

FOSTER, rents and resides), LHPD observed KIM exiting SUBJECT

PREMISES 2 carrying a shipping box.        LHPD saw KIM get into a car

and drive to a FedEx store in West Covina, California.          LHPD

observed KIM exit the car carrying the shipping box and enter

the FedEx store.

               Law enforcement later saw KIM leaving that store with

a stack of empty shipping boxes similar in size to the parcel he

originally entered the FedEx store with.        After KIM departed, a

LHPD detective went inside the FedEx store, identified himself
to the FedEx employee, and inquired about the parcel KIM dropped

off.       The FedEx employee assisted the LHPD detective in locating

the parcel.      The parcel was sealed and labeled from Edward Kim

at an address of 3010 Wilshire Boulevard, Los Angeles,


       The SOI was previously arrested on drug offenses and is
       2
working with local law enforcement in the hopes of leniency in
prosecution and any potential sentence. The SOI has the
following felony criminal convictions: possession of a
controlled substance in 2007, 2011, and 2013; possession of a
controlled substance for sale in 2007, 2008, 2010, 2016, and
2018; transportation of a controlled substance in 2007, 2016,
and 2019; making and passing fictitious check in 2016; and
possession of a stolen vehicle in 2019.


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California 90010 and addressed to “Clear Point Logistics,”

located at 75-5660 Kopiko Street, Suite C7 #304, Kailua-Kona,

Hawaii.
             Law enforcement in Hawaii were advised of the package

destined to Kailua-Kona, and they obtained an anticipatory

search warrant for the parcel from U.S. Magistrate Judge Kenneth

Mansfield.    See Case No. 19-MJ-1199 (D. Hawaii).       The search

warrant was executed in Hawaii on November 18, 2019.          Inside the

package that KIM was seen mailing, law enforcement found

approximately 449.6 grams of methamphetamine.        Several co-

conspirators in Hawaii were ultimately arrested and charged

federally with conspiracy to distribute methamphetamine.

             Based on my discussion with other agents, federal

agents were planning to charge KIM along with his co-

conspirators located in Hawaii.      However, due to the COVID-19

pandemic, federal agents in Hawaii ultimately did not move to

arrest or charge KIM in Hawaii due to the travel restrictions

and quarantine.    Instead, the case was later referred to the
U.S. Attorney’s Office in the Central District of California for

investigation.

     B.      In June 2020, IRS-CI Begins Investigating KIM for
             Fraudulent Tax Filings Associated with SUBJECT
             PREMISES 1 and 2

             Separately, in June 2020, IRS-CI began investigating

KIM for filing fraudulent tax returns under stolen identities to

receive Economic Impact Payments (“EIP”), also known as stimulus

payments.




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            KIM was first identified as being involved in

suspicious tax filings through the EIP Lead Portal.         The EIP

Lead Portal is an IRS database developed to combat fraud through

identifying suspicious activity associated with non-filer EIP

account creation.

            After a review of EIP Lead Portal data, IRS-CI

identified 297 fraudulent returns filed by KIM and his partner,

FOSTER.    The 297 returns were in various names other than the

names of KIM and FOSTER.     These returns were linked to five

separate banks accounts.     Of the 297 EIP returns, 129 returns

listed SUBJECT PREMISES 1 as the taxpayer’s address.

            IRS-CI then obtained bank records relating to these

five bank accounts and determined all the accounts were owned by

KIM or FOSTER.   For example, records obtained from Bancorp bank

account ending in 6759 showed KIM as the sole account holder.

This bank account was associated with 82 returns. Records

obtained from Lili bank account ending in 8213 showed KIM as the

sole account holder and a total of 89 returns were associated
with this bank account.     Records obtained from BBVA USA bank

account ending in 2343, Evolve bank account ending in 4718, and

Bancorp bank account ending in 4606, showed FOSTER as the sole

account holder with the listed address as SUBJECT PREMISES 2.

These bank accounts in FOSTER’s name were associated with 126

returns.

            Further investigation revealed that most of these

returns were filed from the IP address of 76.170.55.188.          Law

enforcement subsequently obtained subscriber information for the



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IP address from Charter Communications.        According to Charter

Communication, KIM was the subscriber of the IP address at the

service address of SUBJECT PREMISES 1 at the dates and times

that the returns were filed.
           The IRS-CI interviewed approximately seven individuals

who had tax returns filed under their names which were

associated with KIM or FOSTER.       All of the individuals indicated

the filings were unauthorized and they confirmed they never gave

either KIM or FOSTER permission to use their identities to file

tax returns for EIP payments.

           IRS-CI linked KIM and FOSTER to the filing of at least

297 fraudulent tax returns by linking the returns to the bank

accounts associated with KIM and FOSTER or at SUBJECT PREMISES

1.   These tax returns claimed EIP payments totaling

approximately $356,400, of which $21,600 were released and paid

to the bank accounts associated with KIM and FOSTER.

      C.   In Summer 2020, DOL-OIG Discovers KIM’s Scheme to
           Fraudulently Obtain EDD Benefits Using SUBJECT
           PREMISES 1-3

           In September 2020, while HSI and IRS-CI were

investigating KIM for drug trafficking and filing false tax

returns, DOL-OIG began investigating KIM for suspected EDD fraud

after receiving the following tip from the Las Vegas

Metropolitan Police Department (“LVMP”).

           1.    KIM is Arrested with EDD Cards in Las Vegas

           On September 15, 2020, LVMP arrested KIM after

security at the hotel KIM was staying at observed

methamphetamine and approximately 21 EDD cards inside KIM’s


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hotel room.     The hotel security observed the items in KIM’s room

while responding to a disturbance in the room and notified LVMP

thereafter.     At time of the incident, KIM was present at the

hotel with FOSTER.     FOSTER was not arrested, however.
           The 21 EDD cards found in KIM’s room were not in KIM’s

name.   In a search incident to his arrest, LVMP searched KIM’s

person and found 11 additional EDD cards, for a total of 32 EDD

cards, and approximately 17 grams of suspected

methamphetamine.      LVMP Mirandized and interviewed KIM.        KIM told

LVMP that the reason he had multiple EDD cards in his possession

was because he helps people file unemployment claims in exchange

for a 10-percent kickback from each of the EDD card owners.

LVMP referred the EDD cards to DOL-OIG.

           2.     DOL-OIG Investigates the EDD Cards and Finds that
                  KIM is Connected to Hundreds of Fraudulent Claims

           DOL-OIG then began investigating KIM and the EDD cards

that were found in his possession during the Las Vegas arrest.

DOL-OIG first conducted a search of law enforcement databases

and discovered that 22 of the EDD cards in KIM’s possession were
obtained by filing online applications for unemployment

assistance from the IP address of 76.170.62.36 (the “Target IP

Address”).      Further investigation determined that approximately

400 claims were connected to KIM through the use of the common

mailing addresses, IP addresses, or email address, all of which

were found to be under KIM’s or his co-conspirators’ control.

           For example, DOL-OIG determined that all 32 EDD cards

found in KIM’s possession during the Las Vegas arrest listed



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locations under KIM’s control as the mailing address on the

online EDD applications.       Specifically, 18 EDD cards listed

SUBJECT PREMISES 1, as the claimant’s mailing address on EDD

claims, and 1 card listed the home of KIM’s parents, as the

claimant’s mailing address.      In addition, 11 EDD cards listed an

apartment at 951 South Beach Boulevard in La Habra, California

(“KIM’s Former Beach Boulevard Apartment”), which law

enforcement determined was KIM’s apartment from approximately

June 11, 2020 until recently based on lease records.          Two

additional cards used the mailing address of 964 East Badillo

Street # 436, Covina, CA 91724, which is a private mailbox

rented by KIM. 3

               3.   DOL-OIG Tracks Hundreds of Additional EDD Claims
                    to KIM at SUBJECT PREMISES 1 through 3

               Broadening their investigation, DOL-OIG reviewed

additional EDD claims records which showed that at least 78

claims used SUBJECT PREMISES 1 and an additional 170 claims used

KIM’s Former Beach Boulevard Apartment as their respective

mailing addresses on the EDD applications.

               DOL-OIG continued its investigation by looking at all

other EDD applications filed from the Target IP Address, which

was used to file applications for 22 of the 32 EDD cards that

were found in KIM’s possession in Las Vegas on September 15,

2020.       This analysis showed that at least an additional 114 EDD




       This address is associated with at least 43 unemployment
        3
insurance claims.


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claims were filed from the Target IP Address between May 2020
and July 2020.

           DOL-OIG subpoenaed subscriber information for the

Target IP Address from Charter Communications.          Charter reported

that KIM was the subscriber of the Target IP Address, with a

service address of SUBJECT PREMISES 1, at the time the

fraudulent EDD claims were filed.

           DOL-OIG reviewed additional EDD claims records, which

showed at least four other claims, including FOSTER’s own EDD

claim, used SUBJECT PREMISES 2 as their respective mailing

address on the EDD applications.       Additionally, law enforcement

determined that FOSTER was the subscriber of IP address

76.91.184.115, which was used to file at least 80 claims,

including four of the EDD cards in KIM’s possession during the

Las Vegas arrest.

           Further analysis of EDD claims records showed at least

17 claims used SUBJECT PREMISES 3 as their respective mailing

address on the EDD applications.

           4.    DOL-OIG Determines That Many of the Fraudulent
                 EDD Claims are in Inmates’ Names

           DOL-OIG also determined that 23 of the 32 EDD cards in

KIM’s possession during the Las Vegas arrest were in names of

incarcerated California Department of Corrections and

Rehabilitation (“CDCR”) inmates.       Inmates are not eligible to

apply for unemployment insurance (“UI”) benefits because they

are not unemployed through no fault of their own; able and

available for work; and/or actively seeking work.          The EDD



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applications for these 23 inmate-claims each reported being

unemployed as a direct result of COVID-19 and an annual income

of $72,000.       This reported income on the fraudulent applications

caused EDD to pay the maximum amount, thereby maximizing the

fraud and benefits received.              None of these applications

provided driver’s license information either, which is requested

on the applications for verification purposes.
             The table below provides a sample of the EDD inmate-

claims that were tracked to KIM.                 Notably, each of the claims

share commonalities, including unemployment reason, reported

income, affected work date, and lack of driver’s license for

verification.       Each of the claims also used an address

controlled by KIM, including SUBJECT PREMISES 1, KIM’s Former

Beach Boulevard Apartment, and KIM’s private mailbox.
State                      Provided               Date       Date      Amount of   Incareation
         Reason                         Stated
Claim             Claimant Driver's               Work       Claim     Claim and     Dates in
       Unemployed                      Income
 Filed                      License              Affected     Filed      Status         CA
                                                                       Approved     1/23/2017
 CA    COVID-19     M.B.      N       $72,000.00 2/2/2020 5/16/2020
                                                                        $23,100     to Present
                                                                       Approved    12/28/2017
 CA    COVID-19     W.B.      N       $72,000.00 2/2/2020 5/30/2020
                                                                        $22,800     to Present
                                                                       Approved     5/3/2016
 CA    COVID-19     Y.B.      N       $72,000.00 2/2/2020   6/4/2020
                                                                        $18,300     to Present
                                                                       Approved     2/8/2019
 CA    COVID-19     E.C.      N       $72,000.00 2/5/2020   7/4/2020
                                                                        $21,450     to Present
                                                                       Approved     1/28/2010
 CA    COVID-19     B.D.      N       $72,000.00 2/12/2020 7/4/2020
                                                                        $21,450     to Present
                                                                       Approved    12/16/2019
 CA    COVID-19     J.G.      N       $72,000.00 2/2/2020   7/4/2020
                                                                        $22,800     to Present
                                                                       Approved    11/19/2015
 CA    COVID-19     I.H.      N       $72,000.00 2/4/2020   7/4/2020
                                                                        $22,800     to Present
                                                                       Approved     3/16/2010
 CA    COVID-19      E.I.     N       $72,000.00 2/3/2020   7/9/2020
                                                                        $22,800     to Present
                                                                       Approved     9/10/2010
 CA    COVID-19     A.K.      N       $72,000.00 2/2/2020 7/25/2020
                                                                        $22,800     to Present
                                                                       Approved    10/13/2011
 CA    COVID-19     B.K.      N       $72,000.00 2/2/2020 7/25/2020
                                                                        $21,900     to Present
             DOL-OIG further investigated each of these inmate-

claims through a review of EDD records, CDCR records, and



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discussions with CDCR representatives.        Below are examples of

some of the findings:

            a.   Inmate-Claimant I.H.:      An EDD claim in I.H.’s
name and using I.H.’s social security number was filed on July

4, 2020.    EDD claim records indicate that I.H.’s claim for EDD

benefits reported that he lost work due to COVID-19 and earned

an annual salary of $72,000 before his loss of employment.           His

reported last day of work was June 27, 2020; however, CDCR

records indicate that I.H. has been incarcerated since November

19, 2015.    Further investigation revealed that the Target IP

address, registered to SUBJECT PREMISES 1, was used to file the

claim.   Kim’s Former Beach Boulevard Apartment was listed as

I.H.’s mailing address on the application.         Bank of America

(“BofA”) records indicate that an EDD debit card issued in the

name of I.H., ending 9474, was mailed to Kim’s Former Beach

Boulevard Apartment on July 10, 2020.        BofA records indicate

that I.H.’s card was used multiple times from July 19, 2020 to

September 13, 2020, including 9 purchases totaling $2,300.86 and

20 ATM withdrawals totaling $20,003.        Surveillance footage

associated with the ATM withdrawals show a person matching KIM’s

description, as well as currently unknown associates, making

multiple withdrawals using the card in I.H.’s name.

            b.   Inmate-Claimant W.B.:      An EDD claim in W.B.’s

name and using W.B.’s social security number was filed on May

30, 2020.   EDD claim records indicate that W.B.’s claim for EDD

benefits reported that he lost work due to COVID-19 and earned

an annual salary of $72,000 before his loss of employment.           His



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reported last day of work was May 23, 2020; however, CDCR

records indicate that W.B. has been incarcerated since December

28, 2017.   Further investigation revealed that the Target IP

address, registered to SUBJECT PREMISES 1, was used to file the

claim.    SUBJECT PREMISES 1 was also listed as W.B.’s mailing

address on the application.      BofA records indicate that an EDD

debit card issued in the name of W.B. was mailed to SUBJECT

PREMISES 1 on June 5, 2020. 4
            c.   Inmate-Claimant E.I.:      An EDD claim in E.I.’s

name and using E.I.’s social security number was filed on July

9, 2020.    Similar to the other claims, EDD claim records

indicate that E.I.’s claim for EDD benefits reported that he

lost work due to COVID-19 and earned an annual salary of $72,000

prior his loss of employment.       His reported last day of work was

July 4, 2020; however, CDCR records indicate that E.I. has been

incarcerated since March 16, 2010.        EDD records indicate that IP

address 172.118.206.165 was used to file the claim. 5         Further

investigation revealed that E.I.’s application listed KIM’s

Former Beach Boulevard Apartment as the mailing address.           BofA

records indicate that a debit card, ending in 4746, was issued

in E.I.’s name and mailed to KIM’s Former Beach Boulevard



     4 KIM had this card in his possession when LVMPD arrested
him on September 15, 2020, and it was subsequently seized.
Following its seizure, BofA records indicate another card was
issued to W.B. and mailed to SUBJECT PREMISES 1 on September 21,
2020. This second card was found in KIM’s possession during the
November 15, 2020 arrest in La Habra, California.
      5This IP address was also used in at least 56 EDD claims,
54 of which used KIM’s Former Beach Boulevard Apartment as the
mailing address.


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Apartment on July 13, 2020.      Later, BofA surveillance shows a

man matching KIM’s description making a $1,000 withdrawal from a

BofA ATM located near Beach Boulevard and La Habra Boulevard in

La Habra, California on August 27, 2020.
           Further review of additional Bank of America

surveillance shows a suspect matching KIM making numerous $1,000

withdrawals using EDD cards in names other than his own.           Many

of these withdraws occurred at ATMs near SUBJECT PREMISES 1.

           5.    DOL-OIG Determines that KIM is Responsible for
                 over $3.0 Million Fraudulent EDD Payments and
                 That He and Others Withdrew At Least $1.9 Million
                 in Cash

           All told, DOL-OIG agents determined that KIM has filed

or caused the filing of at least 400 fraudulent EDD claims, with

at least 120 of these fraudulent claims filed in the name of

inmates at California correctional institutions.          Ultimately,

DOL-OIG determined that EDD paid out at least $3.0 million on

the approximately 400 EDD claims associated with KIM from

approximately March 30, 2020 to September 8, 2020.

           A significant portion of EDD benefits that were paid,

at least $1.9 million, were withdrawn in cash ATM withdrawals by

KIM and unknown co-conspirators.       As a result, law enforcement

believes that KIM still possesses a significant amount of cash

at any one or multiple SUBJECT PREMISES.         Indeed, in this

regard, law enforcement learned that, in late September 2020,

KIM made multiple large cash purchases, including a brand new,




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2020 model year Dodge Ram Rebel truck, which KIM purchased with

approximately $81,500 in cash. 6

      D.   LHPD Stops KIM in November 2020 and Finds
           Methamphetamine and Drugs in a “Clear Point Logistics”
           Parcel

           Most recently, KIM was arrested by local police and

found to be in possession of methamphetamine, additional EDD

materials, and a package of drugs from “Clear Point Logistics.”

           Specifically, at approximately 12:55 a.m. on November

15, 2020, LHPD pulled over KIM, who was driving alone in his new

Dodge Ram Rebel truck, for multiple violations of the California

Vehicle Code.    Before the stop, LHPD first saw KIM’s truck

depart the business complex where SUBJECT PREMISES 3 is located.

Upon exiting the complex, an officer saw the truck enter an

intersection, then it suddenly braked and stopped.          The truck

then reversed back into the business complex where SUBJECT

PREMISE 3 was located, in violation of California Vehicle Code

Section 22106.    The officer then saw the truck wait for

approximately 45 seconds behind the limit line with its turning

signal activated.     The officer then saw that the truck had

heavily tinted windows and lacked a front license plate, both

violations of the California Vehicle Code.         As the officer

passed the truck, the truck then made an immediate right turn,

opposite its original direction of travel, and sped off.           The

officer made a U-turn and visually observed the truck going

approximately 80 miles per hour, in violation of the 50 mile per


      6Notably, during the relevant time period, KIM had no
reported wage income, according to EDD.


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hour speed limit.      The officer then conducted a traffic stop of

the truck.
              After pulling over the truck, LHPD ran a records check

on KIM, which showed that KIM was on formal probation through

Los Angeles County with full search and seizure terms, including

his person and any vehicles under his control.          The truck came

back registered to KIM at SUBJECT PREMISES 4.

              KIM told officers that he was driving home from work,

which he identified as a business that he owned.          Officers later

found a utility bill for SUBJECT PREMISES 3 in the truck.            LHPD

then asked KIM what he was on probation for.         KIM responded

“sales.” 7    When they asked what he was selling, KIM responded

“drugs.”     The officers then asked, “what kind of drugs?”        KIM

responded, “meth.” 8

              Pursuant to the terms of KIM’s probation, LHPD asked

KIM to exit the truck.      LHPD then conducted a search of his

person.      During the search, LHPD discovered a large quantity of

cash in KIM’s back pocket, which KIM identified as $10,000 cash




     7 The quotes are not verbatim as no transcript from the stop
exists at this time. Rather, the quotations reflect what KIM
said in substance based on the officer’s body-worn camera
footage.
      8A subsequent review of KIM’s criminal history reveals that
he has several convictions, including, among others, a
conviction for manufacturing a controlled substance in 2014;
possession of a controlled substance in 2014; misdemeanor
burglary in 2014; bringing a controlled substance into prison in
2015; possession of a controlled substances in 2016; possession
of a controlled substances in 2017; possession of 10 or more IDs
with intent to defraud in 2019; and possession of a controlled
substance for sale in 2019.


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in $100 bills.    KIM said the money was for his rent, which he

said was approximately $6,000 per month.
             Officers then asked if there was any methamphetamine

in the car.    KIM responded no.     Officers then asked KIM if they

could search the truck.      KIM consented and asked them to make it

quick.

             Officers then searched the truck pursuant to both

KIM’s search terms and his consent.         Upon immediately opening

the passenger door, and within seconds of starting the search,

officers saw suspected methamphetamine residue and a suspected

rock of methamphetamine in the truck’s passenger side door

panel.    Officers explained to KIM what they had found in this

car.     Upon hearing they found methamphetamine, KIM said, “I

don’t have any.”     In response, an officer stated that she “could

see it in the side of his car.”       KIM responded, “what do you

mean?”    At that point, the officer took the suspected

methamphetamine rock from the car and walked it over to show KIM

directly.     The officer even shined her flashlight on it.        KIM

continued to appear to play coy, and said, “what is that?”           KIM

claimed he “had no idea” what it was and asked the officer “are

you sure?” when she told him it was methamphetamine.

             Officers then continued the search of KIM’s truck.

During the search, officers located a black bag on the front

seat containing a digital scale covered in suspected

methamphetamine residue, a glass jar of marijuana, a computer

hard drive, and a black container labeled as “moonrocks.”           The

officer asked KIM what “moonrocks” were.         KIM responded that



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they were a type of marijuana, indicating that he knew about the

contents of the bag and had control over the items inside,

including the digital scale.       Inside the car, officers also

found a fluorescent grow light still inside its original

packaging and other items related to the cultivation of

marijuana.       KIM told officers he was growing marijuana for

personal consumption.
               In the front seat of the vehicle, LHPD located a

sealed mail parcel, which was labeled from “Clear Point

Logistics,” P.O. Box 2305, La Habra, California 90632 and

addressed to an individual in Colorado. 9       LHPD asked KIM if that

parcel belonged to him.      KIM only answered that it was outgoing

mail.       Based on the fact that KIM had possession of this parcel

in the truck, knew of the outgoing status of the parcel, and was

on probation with search terms, LHPD opened the parcel.           Within

the parcel, officers found white rectangular pills believed to

be Alprazolam (also known as Xanax).

               In the truck’s backseat, LHPD found an orange backpack

which contained an electroshock weapon (commonly referred to as

a taser) and a white pill bottle with KIM’s name in the front

zippered compartment along with bills in KIM’s name.          The larger

compartment of the backpack was locked closed with a combination

lock.       LHPD asked KIM for the combination to the lock on the

backpack.      KIM stated the backpack did not belong to him and

that it belonged to his girlfriend.         Based on the fact that KIM


       Clear Point Logistics was the company on the package
        9
containing methamphetamine that KIM was seen mailing to Hawaii
in November 2019, as discussed above.


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was on probation and subject to search terms, the truck was

registered to KIM (who was the sole occupant), and KIM’s

property (including his prescription medication and bills) was

found inside the backpack, officers forced entry into the

backpack with a knife.
           Within the locked compartment, LHPD located several

pieces of EDD mail, bills, booking information from a prior

arrest of KIM, two cell phones, several Visa cards in various

individuals’ names other than KIM’s, two clear plastic baggies,

and a black container containing what later tested positive for

approximately 22.049 grams of methamphetamine.          Notably, many of

EDD cards and EDD mailings found in the truck were addressed to

various individuals at SUBJECT PREMISES 1.         Officers also

located a yellow pill bottle labeled with a female’s name.

Inside that bottle, LHPD located three different types of pills,

one of which was suspected to be Alprazolam.

           During the search of the truck, officers also found an

additional stack of cash, similar to the stack of cash found on

KIM, as well as a third stack of cash in some bags.          All told,

officers seized approximately $26,778 in cash from KIM’s person

and the truck.

           Officers arrested KIM for the possession of the drugs

and seized his digital devices, contraband, cash, bags, debit

cards, EDD materials, and other items as evidence.          The truck

was impounded as evidence.

           On December 14, 2020, Magistrate Judge

Gail J. Standish issued a federal search warrant for KIM’s truck



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and the four digital devices found inside.         Law enforcement then

executed a search of the truck.       During the search, officers

found a Spectrum Business mailing addressed to “Clear Point

Logistics” at SUBJECT PREMISES 3, causing them to believe that

Clear Point Logistics is operating from that location.           Officers

also found the truck’s DMV registration, which listed KIM as the

registered owner at SUBJECT PREMISES 4, a Colorado state ID with

KIM’s name and image, and mailing address to KIM at KIM’s Former

Beach Boulevard apartment, and 3010 Wilshire Boulevard, Los

Angeles, California, among others.
           In addition, officers found a notebook inside KIM’s

truck.   Inside the notebook, officers found, among other items,

a bill of sale for an Aprilia motorcycle for $9,500 cash on

September 4, 2020 as well as documents referencing KIM’s

purchase of a Harley Davidson motorcycle in cash on or around

September 8, 2020.     The notebook also contained a handwritten

ledger of expenses, including expenses for “Ram Truck $60K,”

“Ducati 1199 $15K,” and “Aprilia RSV4 $15k,” which appear to be

references to KIM’s truck and motorcycles.         The handwritten

ledger also includes cash notations, including “$80K cash,”

“$90k cash, “$290K cash,” and “$120K cash Mom.”

           A search of the digital devices found in KIM’s truck

revealed, among other items, numerous images of large quantities

of suspected methamphetamine, significant quantities of cash,

miscellaneous pills, a pill press, and a gun.         There were also

images of notes that referenced a pill press and bitcoin.            The

digital devices also included indicia of KIM’s ownership,



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including pictures of his driver license, photos of himself

(including KIM holding cash), references to Clear Point

Logistics, and receipts for Clear Point Logistics shipments to

Hawaii in November 2019.
            In addition, the digital devices contained a

screenshot of a conversation between a person believed to be KIM

and an individual named Peter.       KIM appears to say “I need to

know ASAP it’s very important.       I got 50K on the line here bro.”

Peter responds, “Yo eddie I just told you how I feel after

taking a qtr of it . . . I just snorted half of one so I told

you I’ll let you know here soon if I feel anything.”          Based on

my training and experience and conversations with other law

enforcement officers, I believe this conversation is in

reference to the production and distribution of illicit drugs.

      E.    Law Enforcement’s Investigation and Continued
            Surveillance of KIM Shows He Operates Out of All
            SUBJECT PREMISES and Has Connections to Each

            During the investigation, law enforcement has

identified KIM’s multiple contacts at each of the SUBJECT

PREMISES.   As a result of these pending investigations, law

enforcement believes the SUBJECT PREMISES contain evidence

related to these investigations, including, but not limited to,

drug trafficking and EIP and EDD fraud.        Law enforcement also

believes these SUBJECT PREMISES likely contain large amounts of

cash from the approximately $3.0 million in fraudulent EDD funds

that KIM received.




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           1.    SUBJECT PREMISES 1 – KIM’s Apartment
           Based on records provided from the landlord, law

enforcement determined that KIM is the current lessee of SUBJECT

PREMISES 1, an apartment in Los Angeles, since April 2020

through the present.     Moreover, law enforcement determined that

rent payments for SUBJECT PREMISES 1 were paid from KIM’s

Bancorp 6759 account and EDD cards in the names of two CDCR

inmates, including one found in KIM’s possession during his Las

Vegas arrest.    Each EDD card used SUBJECT PREMISES 1 as a

mailing address.

           Around the fall 2020, the owner of SUBJECT PREMISES 1

reported to law enforcement that an unknown white male was

staying at SUBJECT PREMISES 1.       The owner reported that the

unidentified white male was creating disturbances at SUBJECT

PREMISES 1, including climbing down apartment balconies and,

more recently, stealing artwork and packages from the common

areas.   The owner observed the white male on numerous occasions

waiting for the mail man, who handed mail directly to him

instead of putting them in the mailboxes located in the lobby.

The owner reported seeing on one occasion about 50 EDD letters

all addressed to different individuals and the postal carrier

could not fit them all into the mailbox for SUBJECT PREMISES 1.

When the owner asked the white male who he was, the white male

told the owner that he is an associate of KIM’s and that he is

taking care of things for KIM at SUBJECT PREMISES 1.          When the

owner asked the white male to sign a lease for the unit, the

white male stated that he does not live there and is just taking



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care of business for KIM while KIM is in Denver.          The owner

stated he called KIM approximately a month ago to ask for

overdue rent payment, and KIM stated during the call that he is

having issues with his account and will be sending payment soon.
           Law enforcement reviewed surveillance from SUBJECT

PREMISES 1 containing the unidentified white male.          Law

enforcement subsequently determined that the unidentified white

male seen at SUBJECT PREMISES 1 matched the description of a co-

conspirator who was seen on BofA surveillance withdrawing money

from fraudulently-issued EDD cards.         For example, BofA

surveillance shows the unidentified white male seen at SUBJECT

PREMISES 1, and an unidentified Asian female recently seen

entering SUBJECT PREMISES 1 on February 5, 2021, have also made

multiple ATM withdrawals from EDD cards that were found in KIM’s

possession during his Las Vegas arrest.        BofA surveillance shows

the unidentified white male making withdrawals on at least a

dozen occasions from various cards found in KIM’s possession

during his Law Vegas arrest.       For instance, on August 16, 2020,

the unidentified white male withdrew $1,000 from an EDD card in

the name of CDCR inmate I.H.       Based on Google Maps, this BofA

ATM is approximately 0.3 miles from SUBJECT PREMISES 1. 10

           Additionally, on July 22, 2020, the unidentified Asian

female recently seen entering SUBJECT PREMISES 1 withdrew $1,000



       As discussed below, I know it is common for EDD
      10
fraudsters to send EDD correspondence to addresses under their
control, rather than where they actually live. This allows the
fraudster to access the mail while putting one layer of
separation between themselves and the mailings in order to evade
detection by law enforcement.


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from three EDD cards at a BofA ATM located near Western Avenue

and Olympic Boulevard in Los Angeles.        Again, each of the cards

used for those withdrawals were found in KIM’s possession during

his Las Vegas arrest, including one in the name of CDCR inmate

E.I.
            Most recently, law enforcement has observed one of

KIM’s cars in the vicinity of SUBJECT PREMISES 1.          Specifically,

in January 2021, LHPD received a GPS warrant for one of KIM’s

cars from Orange County Superior Court Judge Nancy Zeltzer. 11

This GPS tracker shows pings from KIM’s car within the vicinity

of SUBJECT PREMISES 1 on several occasions, with one ping as

recently as February 4, 2021, which was within 10 to 15 meters

of SUBJECT PREMISES 1.

            Recent postal records show that, on February 9, 2021,

KIM placed a mail hold for all mail delivered to SUBJECT

PREMISES 1.    The mail hold began on February 9, 2021 with an end

date of March 11, 2021.      The instructions on the hold state

“Please do not deliver to mailbox and only release to the
authorized tenant on the leasing agreement, Mr. Edward Kim.”

          Further review of EDD records shows that additional
                                                             5$2 $&
EDD mailings were mailed to SUBJECT PREMISES 2021 as recently as

January 2021.

            All told, law enforcement connected SUBJECT PREMISES 1

to approximately 78 fraudulent EDD applications and 129

fraudulent tax returns.


       KIM has additional cars and motorcycles which were not
       11
tracked. Thus, law enforcement is only aware of the movements
of one of KIM’s vehicles.


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           2.    SUBJECT PREMISES 2 – FOSTER’s Residence
           SUBJECT PREMISES 2 is the backroom or any other areas

under PALOMA FOSTER’s control, whether attached or unattached,

at the single-family residence located at 113 South Grandview

Avenue, Covina, CA 91723.      During the investigation, law

enforcement spoke with the owner of the property who told law

enforcement that he rents a “backroom” to FOSTER.          During the

investigation, law enforcement and other witnesses have

identified KIM and FOSTER as being present at SUBJECT PREMISES 2

throughout the relevant periods.       A review of the CLEAR database

also shows that FOSTER and KIM are associated with SUBJECT

PREMISES 2.

           Most recently, law enforcement observed FOSTER at

SUBJECT PREMISES 2 on February 13, 2021.         Further review shows

that FOSTER is still using SUBJECT PREMISES 2.          For example, she

recently renewed her driver’s license and listed SUBJECT

PREMISES 2 in the renewal application, dated February 3, 2021.

In addition, FOSTER recently confirmed SUBJECT PREMISES 2 as her
mailing address on her own individual EDD application, which she

updated on February 15, 2021.

           As a result, law enforcement believes that FOSTER and

KIM still occasionally reside at and have access to SUBJECT

PREMISES 2.

           All told, law enforcement connected SUBJECT PREMISES 2

to approximately four fraudulent EDD applications and three bank

accounts registered in FOSTER’s name at this address were linked

to dozens of fraudulent tax return filings.



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             3.   SUBJECT PREMISES 3 – KIM’s Corporate Suite
             SUBJECT PREMISES 3 is a corporate suite that KIM is

currently renting in the name of “Clear Point Logistics.”           Law

enforcement believes it may be associated with KIM’s drug

trafficking activities.

             Law enforcement has surveilled SUBJECT PREMISES 3 on

multiple occasions.     During this surveillance, the corporate

suite appears vacant.     It has no visible signage and no name on

the door or elsewhere, as depicted in the picture below.           It

does not appear open to the public.         Law enforcement, however,

observed KIM’s cars at SUBJECT PREMISES 3 on multiple occasions.




             Law enforcement subsequently conducted additional

investigation into Clear Point Logistics.         That investigation

revealed that Clear Point Logistics is a California-registered

Limited Liability Company.      According to the Secretary of State,

the business was registered on June 17, 2020.         The entity’s

mailing address is listed as KIM’s Former Beach Boulevard

Apartment.    Legalzoom.com is the listed agent for service of


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process for Clear Point Logistics. 12        Further investigation

determined that Clear Point Logistics is not registered to do

business in the City of La Habra.       The City of La Habra has no

records of any business or person at SUBJECT PREMISES 3, and it

considered the unit to be vacant.

                Law enforcement obtained the landlord of the building

housing SUBJECT PREMISES 3.       The records revealed that that, on

July 14, 2020, KIM, acting as a guarantor, entered into a one-

year lease for SUBJECT PREMISES 3 on behalf of Clear Point

Logistics.       The lease term runs from August 1, 2020 to July 31,

2021.        Leasing records for SUBJECT PREMISES 3 also list KIM as a

representative of Clear Point Logistics with a contact address

as SUBJECT PREMISES 1.

                Most recently, law enforcement has repeatedly seen

KIM’s cars at SUBJECT PREMISES 3, including as recently as

February 25, 2021.       Law enforcement has also observed KIM’s

father at SUBJECT PREMISES 3.

                Based on the investigation as a whole, and the

evidence set forth above, law enforcement believes that KIM and

any co-conspirators are not engaged in legitimate business

activity and that SUBJECT PREMISES 3 and Clear Point Logistics

are permeated by fraud.       Among other things, this is because the

business entity was only recently created; the business entity

was created using the services of Legalzoom.com, which was paid



       One of the EDD card associated with KIM had multiple
        12
Legalzoom.com charges, including a registered agent fee, from
between June and July 2020, the time when Clear Point Logistics
was organized.


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for with fraudulently obtained EDD funds; the business entity is

not registered to do business in the City of La Habra; the City

of La Habra has no record of any business or person currently at

SUBJECT PREMISES 3; SUBJECT PREMISES 3 appears vacant from the

outside; SUBJECT PREMISES 3 has no visible signage or name on

the exterior; SUBJECT PREMISES 3 shows no signs of any

legitimate business activity; SUBJECT PREMISES 3 was used as a

mailing address for 17 EDD claims, including at least 7

identified as from inmates; and, finally, KIM appears to be

using the name Clear Point Logistics to ship drugs around the

country, including methamphetamine to Hawaii and Alprazolam to

Colorado.

             4.   SUBJECT PREMISES 4 – KIM’s New Luxury Apartment
             Lastly, law enforcement involved in the investigation

believes that SUBJECT PREMISES 4 is KIM’s new downtown luxury

apartment.    Leasing documents indicate KIM began leasing SUBJECT

PREMISES 4 on July 25, 2020.       Moreover, law enforcement believes

that KIM is using money received from EDD to pay for this
apartment.    Specifically, BofA records indicate that a

fraudulently-obtained EDD card associated with KIM was used to

pay for fees related to the rental application of SUBJECT

PREMISES 2. 13    In addition, KIM listed SUBJECT PREMISES 4 as the

address on the sale documents for the Dodge truck he purchased

on September 28, 2020.




       The application for this EDD card was filed from the
      13
Target IP Address with a mailing address of KIM’s Former Beach
Boulevard Apartment.


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           Law enforcement believes that KIM is residing at

SUBJECT PREMISES 4 and FOSTER is known to frequent the residence

as well.   Specifically, in mid-January 2021, law enforcement

observed KIM’s motorcycle and FOSTER’s car present at SUBJECT

PREMISES 4.    In addition, the landlord of SUBJECT PREMISES 4

provided law enforcement with recent surveillance showing KIM at

SUBJECT PREMISES 4.

V. BACKGROUND INFORMATION ON UNEMPLOYMENT INSURANCE BENEFITS AND

                            COIVD-19 RELATED FRAUD
           Since 1935, the U.S. Department of Labor’s

Unemployment Insurance (“UI”) program has provided unemployment

benefits to eligible workers who become unemployed through no

fault of their own.     This program ensures that at least a

significant portion of the necessities of life--most notably

food, shelter, and clothing--are met on a weekly basis while the

worker seeks employment.      UI beneficiaries who meet the

requirements of the applicable state law are eligible for this

temporary financial assistance.       Each state administers a

separate UI program within the guidelines established by Federal

law.   In California, the EDD administers the UI program for

residents and others physically performing work activities in

California.

           Generally speaking, regular UI claimants must be:

(1) unemployed through no fault of their own; (2) able and

available for work; (3) willing to accept suitable work; and (4)

actively seeking work.




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           On March 13, 2020, the President of the United States

declared the COVID-19 pandemic an emergency under the Robert T.

Stafford Disaster Relief and Emergency Assistance Act.           On March

27, 2020, the Coronavirus Aid, Relief, and Economic Security Act

(“CARES Act”) was enacted to provide emergency assistance and

health care response for individuals, families, and businesses

affected by the COVID-19 pandemic.        The CARES Act included,

among others, the establishment of (1) the Pandemic Unemployment

Assistance (“PUA”) benefit to provide financial assistance to

individuals who are out of work due to the pandemic, including

those who do not usually qualify for regular state UI such as

self-employed, contract, and “gig workers,” (2) the Pandemic

Emergency Unemployment Compensation (“PEUC”) benefit, a 13-week

benefit extension for people who have used all benefits

available in their regular UI claim, and (3) the Pandemic

Additional Compensation (“PAC”) benefit, an additional $600

federal stimulus payment automatically added to each week of

benefits received between March 29, 2020 and July 25, 2020.

           Prior to the enactment of the CARES Act, to be

eligible for UI administered by California’s EDD, a person must

have been employed and worked in California and received at

least a certain amount of wages from an employer in the 18

months preceding his/her UI benefits claim.         Because of this

requirement, self-employed workers, independent contractors, and

employees with insufficient earnings were not eligible to

receive regular UI benefits.




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           Under the PUA program, workers who are not eligible

for regular UI benefits but are unemployed or partially

unemployed for a COVID-19-related reason permissible under

federal law may receive unemployment benefits for up to 46

weeks.   Under the PEUC program, workers who are eligible for the

regular UI benefits for up to 26 weeks may receive an additional

13 weeks of benefits for a total of 39 weeks.         Under the PAC

program, an individual receiving a regular UI benefit, a PUA

benefit, or a PEUC benefit between March 29, 2020 and July 25,

2020, the EDD pays an additional $600 in CARES Act funds to each

week of benefits.

           California EDD began accepting applications for PUA

benefits on or about April 28, 2020.        To make benefits available

as quickly as possible, payments are issued in phases.           If a

claimant qualifies for PUA benefits, the minimum payments are as

follows based on the claim’s start date:

           a.    Phase 1: For claims with start dates from

February 2, 2020 to March 28, 2020, $167 per week for each week

the claimant is unemployed due to COVID-19.

           b.    Phase 2: For claims with start dates from March

29, 2020 to July 25, 2020, $167 plus $600 per week for each week

the claimant is unemployed due to COVID-19.

           c.    Phase 3: For claims with start dates from July

26, 2020 to December 26, 2020, $167 per week for each week the

claimant is unemployed due to COVID-19.




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             PUA applicants may be eligible for more than the

minimum weekly benefit amount of $167 if their annual income for

2019 reported on the PUA application meets a minimum threshold.

             A UI claimant can usually collect 26 weeks of regular

state UI benefits.     As noted above, the CARES Act allows for

additional PEUC benefit to provide up to 13 weeks of additional

payments, for a total of 39 weeks of benefits.          PEUC is

available to persons who were or are fully or partially

unemployed at any time between from March 29, 2020 through

December 26, 2020.     Persons with a regular UI claim, a PUA

claim, or a PEUC extension filed between March 29, 2020 and July

25, 2020, also receive Federal Pandemic Unemployment

Compensation (“FPUC”), which is the extra $600 per week.

Between July 25, 2020 and September 5, 2020, the FPUC benefit

amount was an extra $300 per week, instead of an extra $600 per

week.

             Persons applying for PUA benefits do not need to

submit any supporting documents to the EDD with their

applications.    Claimants enter their total income for the 2019

calendar year on the application.       The stated income will be

used to pay the minimum benefits of $167 per week.          EDD may

request documentation to provide proof of the stated income. 14

If the income information provided by the PUA claimant meets an

annual earnings threshold of $17,368 or more, the EDD will work

as quickly as possible to verify the claimant’s income using



       In general, EDD accepts items such as an annual tax
        14
return, 1099 forms, W-2s, and pay stubs as proof of income.


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other resources available to EDD in order to increase the PUA

weekly benefit amount.
           Like regular UI claims, PUA claims can be filed

online.   When an individual files a PUA claim online, EDD

automatically maintains certain information regarding the filing

of the claim.    This information includes the date and time the

claim was submitted, the name of the person for whom the claim

was filed, and the Internet Protocol (“IP”) address of the

computer, or Internet Service Provider (“ISP”) account, that was

used to file the claim.

           A PUA claimant must answer various questions to

establish his or her eligibility for PUA benefits.          The claimant

must provide his or her name, social security number, and

mailing address.     The claimant must also identify a qualifying

occupational status and COVID-19-related reason for being out of

work.

           After it accepts a UI claim, including a claim

submitted pursuant to the PUA program, EDD typically deposits UI

funds every two weeks to a BofA-administered Electronic Benefit

Payment (“EBP”) debit card, which the claimant can use to pay

for his/her expenses.     This EBP card is sent via the U.S. Postal

Service to the claimant at the address the claimant provides in

their UI claim.    Claimants can activate their debit card over

the phone or online.

           When receiving regular UI benefits, a claimant must

complete a Continued Claim Form (DE 4581) and certify every two

weeks, under penalty of perjury, that he/she remains unemployed



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and eligible to receive UI benefits.        EDD authorizes and

deposits payment to the EBP debit card after it receives the

Continued Claim Form.     At present, weekly PUA benefits typically

range from $40 to $450.      In order to receive the maximum weekly

benefit of $450, a claimant must have earned $11,674.01 or more

in the highest quarter of the claimant's base employment

period. 15
             The submission of the PUA claims cause mailings to the

addresses provided on the claims, including mailings of EBP

debit cards administered by BofA that are used to access the

fraudulently obtained UI benefits.        The co-schemers and their

associates use the EBP debit cards to withdraw the fraudulently

obtained UI benefits by making cash withdrawals at Automated

Teller Machines and point of sale (POS) purchases at merchants

across the United States.

             Based on my conversations with other law enforcement

officers, I know that individuals scheming to fraudulently

obtain UI benefits generally follow recognizable patterns,

including, among other indicia:

      a.     Co-schemers commonly buy or outright steal the

personally identifiable information (“PII”) of other people to

file for fraudulent UI benefits in the ID-theft victims’ names

and then collect the UI funds.       Co-schemers often buy PII from


     15 The combination of regular UI, PUA, and/or FPUC claims
are henceforth collectively referred to as “UI claims.”
Similarly, the combination of regular UI, PUA, and/or FPUC
benefits are henceforth collectively referred to as “UI
benefits.”



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other fraudsters or from the Dark Web 16 (using cryptocurrency
such as Bitcoin) and verify that the PII belongs to real persons

by checking the PII at background check websites such as

Beenverified, Spokeo, Intelius, and Whitepages.

      b.     Using addresses the schemers control as the addresses

submitted to EDD for the claims so that EBP debit cards and

other EDD correspondence will be mailed to these addresses and

thus be accessible to the schemers.         In this regard, fraudsters

sometimes typically do not use their actual residences, but

rather other addresses they control, in order to evade

detection.    Once the EBP debit cards arrive, co-schemers

commonly withdraw UI benefits via ATMs or make POS purchases at

merchants for goods and services.

      c.     Submitting multiple UI claims from the same IP address

for multiple claimants.      These claims are sometimes submitted on

the same day close in time.

      d.     Providing the same phone number or no phone number for

multiple UI claims for different claimants.         The phone number is

usually one the schemers control.

      e.     Submitting multiple UI claims without providing a

driver’s license number or state identification number.




       Dark Web is the set of web pages on the Internet that
      16
cannot be indexed by search engines, are not viewable in a
standard web browser, require specific means (such as
specialized software or network configuration) in order to
access, and use encryption to provide anonymity and privacy for
users. Dark Web has become the Internet’s black market in
recent years where visitors can make illegal purchases of PII,
guns, and drugs, and trade child pornography.


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        VI. TRAINING AND EXPERIENCE ON THE SUBJECT OFFENSES
            Based on my training, education, and experience, and

discussions with other law enforcement personnel, along with

information provided by sources of information and confidential

sources, I know the following:

            a.   UI fraudsters often keep large amounts of United

States currency on hand.      Fraudsters commonly maintain such

currency where they have ready access to it, such as in their

homes and vehicles.     It is also common for fraudsters to possess

proceeds and items purchased with proceeds in their homes and

vehicles.   Thus, it is common for currency, expensive jewelry,

precious metals, or financial instruments to be found in the

possession of UI defrauders.

            b.   UI fraudsters often maintain UI debit cards and

mailing distributed by state workforce agencies (“SWA”) in order

to continue to receive the funds and utilize them through ATM

transactions or point of sale purchases.         Fraudsters commonly

maintain such items in homes, businesses, or in their vehicles.

            c.   UI fraudsters often maintain paper records of

their fraudulent UI activity.       Such records are commonly

maintained for long periods of time and therefore are likely to

be found at the SUBJECT PREMISES.

            d.   UI fraudsters commonly use computers, cellular

telephones, and other electronic devices to communicate with

other fraudsters about their defrauding activities through the

use of telephone calls, text messages, email, chat rooms, social

media, and other internet and applications based communication



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forums to obtain and distribute personal identifying

information.    The fraudsters also utilize these devices to apply

for the UI benefits and to transfer and/receive the benefits.

Therefore, evidence related to UI defrauding is likely to be

found on electronic storage media found at the SUBJECT PREMISES,

as further described below.

           e.    In addition to items which may constitute

evidence, fruits and/or instrumentalities of the crimes set

forth in this Affidavit, I also request permission to seize any

articles tending to establish the identity of persons who have

dominion and control over the SUBJECT PREMISES, including rent

receipts, utility bills, telephone bills, addressed mail,

personal identification, keys, purchase receipts, sale receipts,

photographs, vehicle pink slips, and vehicle registration.
           Based on my training and experience, conversations

with other law enforcement officers, and familiarity with

investigations into fraud and money laundering involving false

tax returns (including government stimulus payments), I know
that individuals scheming to fraudulently obtain economic

assistance payments generally follow recognizable patterns,

including the following, among others:

           a.    Filing fraudulent tax returns in other persons’

names to collect government funds.        In some instances, the tax

returns are from victims of identity theft; in other instances,

the tax returns or claims are from people who have provided

their personal identifying information to the schemers and have

agreed to pay the schemers a portion of the fraudulent benefits



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that are obtained from the tax returns; in yet other instances,

the tax returns or claims are from people who believe they may

be entitled to benefits but do not know that the schemers are

reporting false information to the IRS to fraudulently increase

the amount of the benefits claimed and or received.

            b.   Using computer, cellphones, and other digital

devices, the schemers submit false tax returns to the IRS and

using a static IP address associated to a residential or

commercially available internet service provider.

            c.   Using banks accounts controlled by the schemers,

the schemers then list bank account numbers they control on the

false tax returns.

            d.   Using mailing and physical addresses that the

schemers control, the schemers list these addresses on fake tax

returns so that any checks, payments, and other correspondence

will be mailed to the address and thus intercepted by the

schemers.

            e.   Finally, the schemers usually withdraw the

fraudulently-obtained economic stimulus payments through ATM

withdrawals from the bank accounts they control, which they

listed on the false tax returns.
            Based on my training and experience, conversations

with other law enforcement officers, and familiarity with

investigations into drug trafficking, I know that individuals

involved in drug trafficking generally follow recognizable

patterns, including the following, among others:




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           a.    Drug traffickers commit crimes that involve

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers and fraudsters often travel by car, bus, train, or

airplane, both domestically and to foreign countries, in

connection with their illegal activities in order to meet with

co-conspirators, conduct criminal transactions, and transport

drugs or proceeds obtained from fraudulent activity.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records related to the

manufacturing, transportation, ordering, sale and distribution

of illegal drugs or proceeds obtained from illegal activity.

The aforementioned records are often maintained where the drug

trafficker has ready access to them, such as in their

residences, businesses, and vehicles, and on their cell phones

and other digital devices.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking

and fraud to have photos and videos on their cell phones of

drugs or others working with them, as they frequently send these



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photos to each other and others to boast about their illicit

activities.

             d.   Drug traffickers, like fraudsters, often keep the

names, addresses, and telephone numbers of their associates on

their digital devices.      Drug traffickers often keep records of

meetings with associates, customers, and suppliers on their

digital devices, including in the form of calendar entries and

location data.

             e.   Individuals engaged in the illegal purchase or

sale of drugs and other contraband often use multiple digital

devices, including rotating the usage of telephone numbers to

avoid law enforcement detection.       Narcotics traffickers often

require the use of one or more digital devices to negotiate

times, places, schemes, and manners for importing, possessing,

concealing, manufacturing, and distributing controlled

substances and for arranging the disposition of proceeds from

the sale of controlled substances.
             From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct firearms investigations, I am aware of the

following:

             a.   Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residences,

vehicles, and stash houses, or in places that are readily

accessible, and under their physical control, such as in their

digital devices.     It has been my experience that prohibited



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individuals who own firearms illegally will keep the contact

information of the individual who is supplying firearms to

prohibited individuals or other individuals involved in criminal

activities for future purchases or referrals.         Such information

is also kept on digital devices.

           b.    Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.           These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

           c.    Those who illegally possess firearms often sell

their firearms and purchase firearms.        Correspondence between

persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.          This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.         In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful sale of firearms to have photographs of firearms they

or other individuals working with them possess on their cellular

phones and other digital devices as they frequently send these

photos to each other to boast of their firearms possession

and/or to facilitate sales or transfers of firearms.




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           VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 17
            Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,



       As used herein, the term “digital device” includes any
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electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:




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           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.
           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a



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device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress KIM’s and FOSTER’s thumb and/or fingers

on the device(s); and (2) hold the device(s) in front of KIM’s

and FOSTER’s face with his or her eyes open to activate the

facial-, iris-, and/or retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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